Case 2:09-cv-02332-BBD-tmp Document 28 Filed 01/13/10 Page 1 of 1   PageID 327



                      UNITED STATES DISTRICT COURT
             WESTERN DISTRICT OF TENNESSEE
                   WESTERN DIVISION


JOE MOSCON


                                         JUDGMENT IN A CIVIL CASE
v.                                       Case No. 09-2332


GOLDEN RULE INSURANCE COMPANY et al.


DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.


IT IS SO ORDERED AND ADJUDGED that in accordance with the Order of
Dismissal entered on January 13, 2010 this cause is hereby
dismissed.



APPROVED:

s/Bernice B. Donald
UNITED STATES DISTRICT COURT

DATE: 1/13/2010                                THOMAS M. GOULD
                                          Clerk of Court


                                                 s/Taffy Elchlepp
                                          (By)    Deputy Clerk
